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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                         LAKE CHARLES DIVISION


 BETTY HUNTER                                     CIVIL ACTION NO.
                        Plaintiff
                 v.                               JUDGE ________________
 CORNERSTONE HOSPITAL OF                          MAG. JUDGE ____________
 SOUTHWEST LOUISIANA, LLC
                        Defendant


                                NOTICE OF REMOVAL

 TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF LOUISIANA

        NOW INTO COURT, comes Defendant, Cornerstone Hospital of Southwest

 Louisiana, LLC, and pursuant to 28 U.S.C. §1441, with full reservation of rights and

 defenses, respectfully submits this Notice of Removal of a civil action currently pending

 against it in the 14th Judicial District Court for the Parish of Calcasieu, State of

 Louisiana.

        In support of this removal notice, Cornerstone states:

                                             1.

        Cornerstone Hospital of Southwest Louisiana, LLC has been made a defendant

 in a civil action pending in the 14th Judicial District Court for the Parish of Calcasieu,

 State of Louisiana, captioned as: Betty Hunter, Individually v. Cornerstone Hospital of

 Southwest Louisiana, LLC and bearing Docket No. 2014-2192, Division F.

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                                               2.

         Cornerstone Hospital of Southwest Louisiana, LLC first received notice of this

 suit on or about June 27, 2014, when it was served, through C T Corporation System,

 with a copy of the Plaintiff’s original Petition for Damages.

                                               3.

         Cornerstone Hospital of Southwest Louisiana, LLC did not receive notice of

 the lawsuit before June 20, 2014, the date on which Plaintiff’s original Petition for

 Damages was filed in state court.

                                               4.

         This removal notice is being filed within thirty (30) days of Defendant

 Cornerstone Hospital of Southwest Louisiana, LLC’s first receipt on June 27, 2014,

 though service or otherwise, of the initial pleadings setting forth Plaintiff’s claims for

 relief upon which the action is based. This removal notice is also being filed less than

 one year after suit was commenced in state court on June 20, 2014. Therefore, this

 removal notice is timely under 28 U.S.C. §1446(b).

                                               5.

         Pursuant to 28 U.S.C. §1441(a), the United States District Court for the Western

 District of Louisiana is the federal district court for the district embracing the place where

 the state court suit is pending.

                                               6.

         Defendant Cornerstone Hospital of Southwest Louisiana, LLC, through

 undersigned counsel, will serve by mail and/or email a notice of the filing of this removal

 notice to Plaintiff and will cause a copy of this removal notice to be filed with the Clerk

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 of Court of the 14th Judicial District Court for the Parish of Calcasieu, State of Louisiana,

 as required by 28 U.S.C. §1446(d).

                                              7.

        This Court has original jurisdiction over this suit pursuant to 28 U.S.C. §1332 and

 §1441 in that the Plaintiff’s Petition for Damages, a copy of which is attached hereto as

 Exhibit 1, involve claims between citizens of different states and the amount in

 controversy exceeds $75,000.00, exclusive of interest and costs.

                                              8.

        Although the Plaintiff pleads no specific amount of damages in her prayer for

 relief, in conformity with Louisiana Code of Civil Procedure Article 893, Defendant

 Cornerstone Hospital of Southwest Louisiana, LLC reasonably believes, based on the

 allegations set for the Plaintiff’s Petition for Damages, that the amount in controversy

 exceeds the jurisdictional minimum amount of $75,000.

                                              9.

        This lawsuit involves claims for personal injury. Plaintiff alleges that Defendant,

 its staff and employees deviated from the standard of care, causing her to suffer severe

 physical pain, progressive and musculoskeletal deterioration, severe emotional stress, loss

 of enjoyment of life, past and future, and past medical expenses.          Therefore, upon

 information and good faith belief, the total amount of damages claimed by Plaintiff

 exceeds the jurisdictional amount of $75,000, exclusive of interest and costs.


                                             10.

        The Plaintiff’s original Petition for Damages names only one Defendant:

 Cornerstone Hospital of Southwest Louisiana, LLC.
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                                                   11.

         Complete diversity of citizenship exists between Plaintiff and Defendant in that:

         (a) As alleged in the introductory paragraph of her Petition for Damages, Plaintiff

              is a person of the full age of majority of the State of Louisiana, Parish of

              Calcasieu;

         (b) The citizenship of a limited liability company (“LLC”) is determined by the

              citizenship of all its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d

              1077, 1081 (5th Cir. 2008).          Here, Cornerstone Hospital of Southwest

              Louisiana, LLC is a citizen of Delaware and Texas based on the following:

                      (1) Defendant Cornerstone Hospital of Southwest Louisiana, LLC

              is a Delaware limited liability company, and its sole member is CS Healthcare

              Louisiana, LLC.        (See Exhibit 2, website printout from the Delaware

              Secretary of State for Cornerstone Hospital of Southwest Louisiana, LLC; and

              Exhibit 3, “Joint Consent of Sole Member and Board of Managers in Lieu of

              Meeting of Cornerstone Hospital of Southwest Louisiana, LLC”); 1

                      (2) CS Healthcare Louisiana, LLC is a Delaware limited liability

              company, and its sole member is Cornerstone Healthcare Group Holding, Inc.

              (See Exhibit 5, website printout from the Delaware Secretary of State for CS

              HealthCare Louisiana, LLC; and Exhibit 6, “Joint Consent of Sole Member

              and Board of Managers in Lieu of Meeting of CS Healthcare Louisiana,



 1        The principal business office of Cornerstone Hospital of Southwest Louisiana, LLC is located at
 2200 Ross Avenue, Suite 5400, Dallas, Texas 75201. (See Exhibit 4, website printout from the Louisiana
 Secretary of State for Cornerstone Hospital of Southwest Louisiana, LLC).

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              LLC”); 2 and

                       (3) Cornerstone Healthcare Group Holding, Inc. is a domestic

              corporation incorporated on the State of Delaware, with its principal place of

              business (i.e., where the corporation’s high level officers direct, control and

              coordinate the corporation’s activities) 3 and its corporate headquarters located

              at 2200 Ross Avenue, Suite 5400, in Dallas, Texas 75201.4 (See Exhibit 8,

              Affidavit of Kurt Schultz, Treasurer of Cornerstone Healthcare Group

              Holding, Inc.; and Exhibit 9, website printout from the Delaware Secretary

              of State for Cornerstone Healthcare Group Holding, Inc.).

                                                 PRAYER

          WHEREFORE, considering the premises, Defendant Cornerstone Hospital of

 Southwest Louisiana, LLC respectfully prays that this removal notice be deemed good

 and sufficient and that the matter pending in the 14th Judicial District Court for the Parish

 of Calcasieu, State of Louisiana, captioned as Betty Hunter v. Cornerstone Hospital of

 Southwest Louisiana, LLC, and bearing Docket No. 2014-2192, Division F, be removed

 to the docket of this Honorable Court.

 2       The principal business office of CS Healthcare Louisiana, LLC is located at 2200 Ross Avenue,
 Suite 5400, Dallas, Texas. (See Exhibit 7, website printout from the Louisiana Secretary of State for CS
 Healthcare Louisiana, LLC).

 3
           For purposes of diversity of citizenship under 28 U.S.C. §1332 and §1441, “a corporation shall be
 deemed to be a citizen of every State and foreign state by which it has been incorporated and of the State or
 foreign policy where it has its principal place of business….” 28 U.S.C. §1332(c)(1). The phrase “principal
 place of business” in 28 U.S.C. §1332(c)(1) refers to the place where the corporation’s high level officers
 direct, control and coordinate the corporation’s activities. Hertz Corp. v. Friend, 130 S.Ct. 1181 (2010).

 4        The principal place of business and corporate headquarters of Cornerstone Healthcare Group
 Holding, Inc. and the principal business offices of Cornerstone Hospital of Southwest Louisiana, LLC
 and CS Healthcare Louisiana, LLC are all the same: 2200 Ross Avenue, Suite 5400, Dallas Texas. (See
 fns. 1 & 2, supra).
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                                            Respectfully submitted,




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                                            Attorneys for Defendant, Cornerstone
                                                  Hospital of Southwest Louisiana, LLC




                             CERTIFICATE OF SERVICE

         I hereby certify that, on July 11, 2014, a copy of the foregoing pleading has been
 electronically filed using the CM/ECF system which will provide notice to all counsel of
 record, and/or a copy has also been served on all counsel of record by email, facsimile or
 depositing same in the United States mail, properly addressed and postage prepaid.




                                              ____________________________________
                                                          Paul G. Preston




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